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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO

    UNITED STATES OF AMERICA,                      )
                                                   )
                     Plaintiff,                    )                   Cr. No. 17-2558 MV
                                                   )
           vs.                                     )
                                                   )
    ARTHUR PERRAULT,                               )
                                                   )
                     Defendant.                    )
                                                   )

                      UNITED STATES’ MOTION IN LIMINE TO EXCLUDE
                        DEFENDANT’S SELF-SERVING STATEMENTS
                               AS INADMISSIBLE HEARSAY

          The United States respectfully moves for an order in limine prohibiting the defendant,

Arthur Perrault (hereinafter, “Defendant”), from eliciting testimony or otherwise introducing

evidence, either during direct examination or cross-examination, of Defendant’s self-serving out-

of-court statements, as such declarations are inadmissible hearsay, pursuant to Fed. R. Evid. 801

and 802. In support of this motion, the prosecution states as follows:

                                           BACKGROUND

          Defendant is charged in the indictment with six counts of aggravated sexual abuse, in

violation of 18 U.S.C. § 2241, and one count of abusive sexual contact, in violation of 18 U.S.C.

§ 2244. Doc. 2. The United States intends to offer evidence at trial of several prior,

incriminating statements by Defendant. This evidence includes the following:

                 •   Letter to mother of John Doe 3 1
                 •   Testimony of oral statements to mother of John Doe 5 and 6 2
                 •   Letter to New Mexico District Judge Denise Barela Shepard 3

1
    The United States disclosed this letter to the defense as Bates No. 0363.
2
    The United States disclosed this evidence to the defense in Bates Nos. 1130.
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               •   Letter to King of Morocco 4
               •   Testimony of oral statements to FBI agents 5
               •   Testimony of oral statements to State Department employee 6

                                        APPLICABLE LAW

          Generally, the Federal Rules of Evidence allow the prosecution to offer evidence of a

defendant’s inculpatory statements as non-hearsay admissions by a party-opponent. See Fed. R.

Evid. 801(d)(2)(A). However, the rules of evidence generally prohibited a defendant from

offering any evidence of his or her out-of-court exculpatory statements. See Fed. R. Evid. 802;

United States v. Larsen, 175 F. App’x 236, 241, 2006 WL 895491 (10th Cir. 2006) (finding no

exception to the hearsay rules allowing a defendant “to introduce into evidence his own out-of-

court exculpatory statements.”). Indeed, “evidence of self-serving statements of innocence made

by the defendant after the offense was discovered . . . lacks the required indicia of

trustworthiness and reliability which support the admission of hearsay under exceptions to the

hearsay rule.” United States v. Lujan, Cr. No. 13-985, Doc. 76 (D.N.M. Feb. 7, 2014)(Vazquez,

J.) (citing United States v. Woolsey, 761 F.2d 445, 449 (8th Cir. 1985)).

          To be sure, when the United States offers selected portions of a defendant’s written or

recorded statement as evidence at trial, the defendant may be entitled to elicit other portions of

the statement under the rule of completeness. See Fed. R. Evid. 106. However, this is a narrow

provision of law that is only intended “to prevent a party from misleading the jury by allowing


3
    The United States disclosed this letter to the defense as Bates Nos. 366-375.
4
    The United States disclosed this letter to the defense as Bates Nos. 1132-1134.
5
 The United States disclosed the substance of this evidence to the defense in Bates Nos. 0376-
0383, 0403.
6
    The United States disclosed this evidence to the defense in Bates No. 1139.
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into the record relevant portions of a writing or recorded statement which clarify or explain the

part already received.” United States v. Lopez-Medina, 596 F.3d 716, 735 (10th Cir. 2010). In

determining whether to admit a disputed portion of a written or recorded statement, the trial court

should consider “whether (1) it explains the admitted evidence, (2) places the admitted evidence

in context, (3) avoids misleading the jury, and (4) insures fair and impartial understanding of the

evidence.” Id. Fed. R. Evid. 106 does not require the trial court to admit “portions of a writing

which are neither explanatory of the previously introduced portions nor relevant to the

introduced portions admitted.” United States v. Wright, 826 F.2d 938, 946 (10th Cir. 1987)

(noting “[i]t would be puerile to suggest that if any part of a statement is to be admitted the entire

statement must be admitted”).

                                           ARGUMENT

       In light of this legal authority, the United States respectfully requests that the Court grant

the United States’ motion and preclude Defendant from offering any out-of-court exculpatory

statements at trial. Further, the United States respectfully requests that the Court direct

Defendant to seek an admissibility ruling from the court, outside the presence of the jury, before

offering any portions of any written or recorded self-serving statements.

       Defendant’s attorney, Samuel L. Winder, Esq., has indicated he opposes this motion.



                                                       Respectfully submitted,


                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       /s
                                                       SEAN J. SULLIVAN
                                                       HOLLAND S. KASTRIN
                                                       Assistant U.S. Attorneys
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I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Sean J. Sullivan
